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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                    PORTLAND DIVISION


 CITY        PENSION      FUND      FOR Case No. 3:24-cv-00974
 FIREFIGHTERS AND POLICE OFFICERS
 IN THE CITY OF PEMBROKE PINES,
 Individually and on Behalf of All Others CLASS ACTION ALLEGATION
 Similarly Situated,                      COMPLAINT FOR VIOLATIONS OF
                                          THE FEDERAL SECURITIES LAWS
                      Plaintiff,          (15 U.S.C. §§ 78j(b) and 78t(a) & 17 C.F.R.
                                          § 240.10b-5)
        v.
                                          DEMAND FOR JURY TRIAL
 NIKE, INC., JOHN J. DONAHOE II, and
 MATTHEW FRIEND,

                          Defendants.




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       Plaintiff City Pension Fund for Firefighters and Police Officers in the City of Pembroke

Pines (“Plaintiff”), by and through Plaintiff’s counsel, alleges the following based upon personal

knowledge as to Plaintiff and Plaintiff’s own acts, and upon information and belief as to all other

matters, including the investigation of Plaintiff’s counsel, which included, among other things, a

review of Defendants’ (defined below) United States Securities and Exchange Commission

(“SEC”) filings, wire and press releases published by NIKE, Inc. (“NIKE” or the “Company”),

analyst reports and advisories about the Company, media reports concerning the Company, judicial

filings and opinions, and other publicly available information. Plaintiff believes that substantial

additional evidentiary support will exist for the allegations set forth herein after a reasonable

opportunity for discovery.

I.     NATURE OF THE ACTION AND OVERVIEW

       1.      This is a federal securities class action on behalf of a class of all persons and entities

who purchased or otherwise acquired NIKE Class B common stock between March 19, 2021, and

March 21, 2024, inclusive (the “Class Period”), seeking to pursue remedies under Sections 10(b)

and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), and SEC Rule 10b-5,

promulgated thereunder.

       2.      NIKE is an Oregon corporation with its principal executive offices in Beaverton,

Oregon. NIKE is a global athletic footwear and apparel company which designs, markets, and

sells products for its NIKE, Jordan, and Converse brands. NIKE branded products are sold through

the Company’s retail stores, NIKE Brand Digital platforms (“NIKE Digital”), wholesale partners,

distributors, and licensees.    NIKE Digital includes Nike.com and the Company’s digital

application, Nike+. The Company’s Class B common stock trades on the New York Stock

Exchange (“NYSE”) under the ticker symbol “NKE.”

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       3.      In 2017, NIKE began implementing its “Consumer Direct Offense” strategy, which

focused on increasing innovation and direct connections with consumers. Consumer Direct

Offense also emphasized NIKE’s digital presence as a means of directly connecting with

consumers by “add[ing] greater digital expertise and control in the markets where consumer

connections happen.” In fact, the Company began reporting the financial metrics from NIKE

Digital and the Company’s retail stores as “NIKE Direct.” In connection with NIKE’s direct-to-

consumer strategy, the Company dropped nearly one-third of its sales partners by late 2020, and

significantly reduced sales to other major retail clients in order to shift the Company’s focus to

direct-to-consumer sales.

       4.      The Class Period begins on March 19, 2021, to coincide with NIKE’s

announcement of its financial results for the third quarter of fiscal year 2021, and NIKE’s related

investor earnings call, after the market closed the prior evening. In connection with these results,

Defendant John J. Donahoe II (the Company’s President and Chief Executive Officer) touted that

“NIKE continues to deeply connect with consumers all over the world driven by our strong

competitive advantages” and that “[o]ur strategy is working, as we accelerate innovation and create

the seamless, premium marketplace of the future.” Defendant Matthew Friend (the Company’s

Executive Vice President and Chief Financial Officer) similarly assured investors that “NIKE’s

brand momentum is as strong as ever and we are driving focused growth against our largest

opportunities.” On the related investor earnings call, Defendant Donahoe emphasized NIKE’s

“tremendous success in digital” and that “NIKE’s digital transformation remains a unique

advantage.”

       5.      Throughout the Class Period, Defendants repeatedly touted the purported strength

of NIKE’s business model, and in particular, the claimed success of its digital and direct-to-

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consumer strategies to produce sustainable growth, while downplaying the significant competitive

pressures facing the Company.

       6.        Investors began to learn the truth about NIKE’s inability to generate sustainable

revenue growth on June 27, 2022, when the Company announced its fourth quarter and full year

2022 financial results after market close. NIKE announced that quarterly revenues declined 1%

year-over-year and quarterly wholesale revenues declined 7% year-over-year.                    However,

Defendant Donahoe reassured investors that NIKE’s “strategy is working” by creating value

through its “competitive advantages, including [its] pipeline of innovative product[s] and

expanding digital leadership.” He further asserted that NIKE’s investments in digital and other

areas prompted Defendants to be “very confident in our long-term strategy and our growth

outlook.” On this news, the price of NIKE Class B common stock declined $7.72 per share, or

nearly 7%, from a close of $110.50 per share on June 27, 2022, to close at $102.78 per share on

June 28, 2022.

       7.        Three months later, on September 29, 2022, investors learned more when NIKE

reported its first quarter fiscal year 2023 financial earnings after market close. In spite of modest

revenue growth, NIKE reported that its net income declined 22% year-over-year and that diluted

earnings per share (“EPS”) similarly declined 20% year-over-year.                   NIKE also reported a

significant reduction in gross margin (down 220 basis points year-over-year) driven by the disposal

of excess inventory—which was 44% higher than in the first quarter of 2022. On this news, the

price of NIKE Class B common stock declined $12.21 per share, or nearly 13%, from a close of

$95.33 per share on September 29, 2022, to close at $83.12 per share on September 30, 2022.

       8.        Notwithstanding the Company’s struggles with NIKE Direct and its direct-to-

consumer strategy, Defendants continued to tout the purported strength of NIKE’s business model

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over the next year, telling investors that NIKE’s “competitive advantages continue to fuel our

momentum” and that NIKE is primed to “leverage our competitive advantages to not only gain

share but also grow the market.”

       9.      On December 21, 2023, however, investors learned more about the competitive

pressures facing NIKE when the Company issued its second quarter fiscal year 2024 financial

results and held its related investor earnings call after market close. Defendant Friend admitted

that NIKE’s “total retail sales across the marketplace fell short of our expectations,” and that

NIKE’s digital platforms lost consumer traffic to competitors because of “higher promotional

activity across the marketplace.” Given these challenges, Defendant Friend revealed that NIKE

was “adjusting [its] channel growth plans for the remainder of the year” and “identifying

opportunities across the company to deliver up to $2 billion in cumulative cost savings over the

next 3 years.” On this news, the price of NIKE Class B common stock declined $14.49 per share,

or nearly 12%, from a close of $122.53 per share on December 21, 2023, to close at $108.04 per

share on December 22, 2023.

       10.     On March 21, 2024, NIKE announced its third quarter fiscal year 2024 financial

results after market close, revealing a 3% year-over-year decline in revenue in its Europe, Middle

East, and Africa (“EMEA”) segment, a 3% year-over-year decline in NIKE Digital revenue, and

scant quarterly revenue growth of approximately 0.4% year-over-year in NIKE Direct. On the

related investor earnings call held that same day, Defendant Donahoe admitted that “NIKE is not

performing [to its] potential” even though moments earlier he claimed that “Q3 performed in line

with our expectations.” Moreover, Defendant Donahoe revealed the Company’s decision to

reduce reliance on its direct-to-consumer strategy and “lean in with our wholesale partners to

elevate our brand and grow the total marketplace.” According to Defendant Donahoe, NIKE made

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a “reinvestment with our wholesale partners, so we bring a more holistic offense that grows the

market and gets in the path of our consumer.” Furthermore, Defendant Friend revealed that NIKE

was “prudently planning for revenue in the first half of the fiscal year [2025] to be down low single

digits” as Defendants “shift our product portfolio toward newness and innovation.” On this news,

the price of NIKE Class B common stock declined $6.96 per share, or nearly 7%, from a close of

$100.82 per share on March 21, 2024, to close at $93.86 per share on March 22, 2024.

       11.     This Complaint alleges that, throughout the Class Period, Defendants made

materially false and/or misleading statements, as well as failed to disclose material adverse facts,

about the Company’s business and operations. Specifically, Defendants misrepresented and/or

failed to disclose that: (1) NIKE’s direct-to-consumer strategy was unable to generate sustainable

revenue growth; (2) NIKE’s purported competitive advantages were unable to protect the

Company from intense competitive pressures after NIKE largely disengaged from many of its

wholesale and retail partners to focus on the Company’s direct-to-consumer strategy; and (3) as a

result, Defendants’ representations about the Company’s business, operations, and prospects were

materially false and misleading and/or lacked a reasonable basis.

       12.     As a result of Defendants’ wrongful acts and omissions, and the decline in the

market value of the Company’s Class B common stock pursuant to the revelation of the fraud,

Plaintiff and other members of the Class (defined below) have suffered significant damages.

II.    JURISDICTION AND VENUE

       13.     Plaintiff’s claims arise under Sections 10(b) and 20(a) of the Exchange Act,

15 U.S.C. §§ 78j(b) and 78t(a), and the rules and regulations promulgated thereunder, including

SEC Rule 10b-5, 17 C.F.R. § 240.10b-5.



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          14.   This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§ 1331 and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

          15.   Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C.

§ 78aa, and 28 U.S.C. § 1391(b), because NIKE is incorporated and headquartered in this District,

and because many of the acts and conduct that constitute the violations of law complained of

herein, including the dissemination to the public of materially false and misleading information,

occurred in this District.

          16.   In connection with the acts, conduct, and other wrongs alleged in this Complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mails, interstate telephone communications, and the

facilities of the national securities markets.

III.      PARTIES

          17.   Plaintiff, as set forth in the accompanying certification, incorporated by reference

herein, purchased NIKE Class B common stock at artificially inflated prices during the Class

Period and suffered damages as a result of the violations of the federal securities laws alleged

herein.

          18.   Defendant NIKE is an Oregon corporation headquartered at One Bowerman Drive,

Beaverton, Oregon 97005-6453.

          19.   Defendant Donahoe was, at all relevant times, NIKE’s President and Chief

Executive Officer, and a Company Director.

          20.   Defendant Friend was, at all relevant times, NIKE’s Executive Vice President and

Chief Financial Officer.



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       21.      Defendants Donahoe and Friend are collectively referred to as the “Individual

Defendants.”

       22.      The Individual Defendants, because of their positions with the Company, possessed

the power and authority to control the contents of NIKE’s reports to the SEC, press releases, and

presentations to securities analysts, money and portfolio managers, and institutional investors, i.e.,

the market. Each Individual Defendant was provided with copies of the Company’s reports alleged

herein to be misleading prior to, or shortly after, their issuance and had the ability and opportunity

to prevent their issuance or cause them to be corrected. Because of their positions and access to

material non-public information available to them, each of the Individual Defendants knew that

the adverse facts specified herein had not been disclosed to, and/or were being concealed from, the

public, and that the positive representations that were being made were then materially false and/or

misleading.

       23.      NIKE and the Individual Defendants are collectively referred to herein as

“Defendants.”

IV.    SUBSTANTIVE ALLEGATIONS

       A.       Background

       24.      NIKE is an Oregon corporation with its principal executive offices in Beaverton,

Oregon. It is a global athletic footwear and apparel company which designs, markets, and sells

products for its NIKE, Jordan, and Converse brands. The Company’s NIKE branded products are

sold through its retail stores, NIKE Digital, wholesale partners, distributors, and licensees. NIKE

Digital includes Nike.com and the Company’s digital application, Nike+.




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       25.     Historically, NIKE emphasized three “competitive advantages” as the basis for its

success—“a culture deeply rooted in innovation, a brand that deeply connects with consumers

fueled by compelling storytelling and an unmatched sports marketing portfolio.”

       26.     In 2017, NIKE began implementing its “Consumer Direct Offense” strategy, which

focused on increasing innovation and direct connections with consumers. Consumer Direct

Offense also emphasized NIKE’s digital presence as a means of directly connecting with

consumers by “add[ing] greater digital expertise and control in the markets where consumer

connections happen.” In fact, the Company began reporting the financial metrics from NIKE

Digital and the Company’s retail stores as one segment—“NIKE Direct.” NIKE Direct is divided

into four geographic operating segments: North America; EMEA; Greater China; and Asia Pacific

& Latin America.

       27.     On June 25, 2020, Defendants announced a second phase to Consumer Direct

Offense—“Consumer Direct Acceleration”—the Company’s “new digitally empowered phase of

our consumer direct strategy” intended to provide consumers with a “consistent, seamless physical

and digital experience.”

       28.     According to the Company, the acceleration of NIKE’s direct-to-consumer strategy

more closely aligned NIKE’s designs and products with consumer preferences, and optimized the

Company in several areas, including, inter alia, “data and analytics, demand sensing, insight

gathering,” and inventory management, to accelerate NIKE’s “digital transformation.”

       29.     In connection with the acceleration of NIKE’s direct-to-consumer strategy, NIKE

dropped nearly one-third of its sales partners by late 2020, and significantly reduced sales to retail

clients, such as Foot Locker, DSW, and Macy’s, in order to shift the Company toward direct-to-

consumer sales and away from reliance on wholesale partners. NIKE Direct is intended to be the

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centerpiece of NIKE’s long-term financial plans and has been touted by Defendant Donahoe as

NIKE’s “fourth emerging competitive advantage.”

       30.     NIKE’s Class B common stock trades on the NYSE under the ticker symbol

“NKE.”

       B.      Defendants’ False and Misleading Statements During the Initial

               Portion of the Class Period

       31.     The Class Period begins on March 19, 2021, the day after NIKE announced its third

quarter fiscal year 2021 financial results after market hours. Among other things, the Company

highlighted a 3% year-over-year increase in quarterly revenues “led by Greater China reported

revenue growth of 51 percent” and “NIKE Brand digital sales increased 59 percent . . . with strong

double-digit increases in all geographies.” Notably, Defendant Donahoe touted the Company’s

“strong competitive advantages” as the driving force behind NIKE’s continued success. Defendant

Friend similarly assured investors that “NIKE’s brand momentum is as strong as ever, and we are

driving focused growth against our largest opportunities.”

       32.     During the accompanying investor earnings call held after market hours on March

18, 2021, Defendant Donahoe stressed NIKE’s “tremendous success in digital”—including the

Company’s “digital transformation”—as its “unique advantage” to power its global brand.

       33.     On June 24, 2021, when NIKE announced its fourth quarter and full fiscal year

2021 financial results after market close, Defendant Donahoe emphasized that “NIKE’s strong

results this quarter and full fiscal year demonstrate NIKE’s unique competitive advantage and deep

connection with consumers all over the world.” Defendants specifically focused on the importance

of the Company’s digital presence, with Defendant Friend noting that “NIKE’s brand momentum

is a testament to our authentic consumer connections, digital strength and continued operational

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execution,” and that, “[a]s we advance our consumer-led digital transformation, we are building a

new financial model that will continue to fuel long-term sustainable, profitable growth for NIKE.”

        34.    During the accompanying investor earnings call held that same day, Defendant

Donahoe reiterated that NIKE’s “strong business results proved yet again NIKE’s unique

competitive advantage.” Furthermore, he touted that “we are better positioned to drive sustainable

long-term growth than we were before the pandemic” and “[o]ur relentless pipeline of innovative

products continues to create separation between us and our competition.”

        35.    On the same call, Defendant Friend discussed NIKE’s Consumer Direct

Acceleration strategy, explaining that the Company will make an “accelerated shift to a more direct

member-centric business model” where the Company’s revenue “[g]rowth will be led by NIKE

Direct and our strategic marketplace partners.” Specifically, he noted that Defendants intend for

NIKE Direct “to represent approximately 60% of the business in fiscal ’25, led by growth in

digital.”

        36.    On December 20, 2021 NIKE announced its second quarter fiscal year 2022

financial results after market close. On the accompanying investor earnings call held that same

day, Defendant Donahoe emphasized that “[t]he results we delivered offered continued proof that

our strategy is working.” Moreover, Defendant Donahoe highlighted NIKE’s digital presence as

its “fourth emerging competitive advantage . . . as we are one of the few brands that can directly

connect with and serve consumers at scale.”

        37.    During the same call, Defendant Donahoe further touted NIKE’s competitive

position during an exchange with a JPMorgan Chase & Co. analyst. Specifically, Defendant

Donahoe stated that the Company’s “digital penetration is at an all-time high,” leading to a “direct



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connection with the consumer” that is ultimately “strengthening and strengthening [NIKE’s brand]

against our historical competitors.”

       38.     On March 21, 2022, NIKE reported its third quarter fiscal year 2022 financial

results after market close. During the accompanying investor earnings call held that same day,

Defendant Donahoe stressed NIKE’s “growing digital advantage,” particularly as Defendants

“continue to drive greater competitive separation” through the Company’s digital presence.

Moreover, while NIKE’s third quarter fiscal year 2022 revenues in Greater China were down 8%

year-over-year, Defendant Friend sought to reassure investors that “NIKE was rated the #1 cool

and #1 favorite brand in China, creating separation and distinction versus the competition.”

       39.     The above statements identified in ¶¶ 31-38 were materially false and misleading,

and failed to disclose materially adverse facts, about the Company’s business and operations.

Specifically, Defendants misrepresented and/or failed to disclose that: (1) NIKE’s direct-to-

consumer strategy was unable to generate sustainable revenue growth; (2) NIKE’s competitive

advantages were unable to protect the Company from intense competitive pressures after NIKE

largely disengaged from many of its wholesale and retail partners to focus on the Company’s

direct-to-consumer strategy; and (3) as a result, Defendants’ representations about the Company’s

business, operations, and prospects were materially false and misleading and/or lacked a

reasonable basis.

       C.      The Truth Begins to Be Revealed

       40.     Investors began to learn the truth about the unsustainability of NIKE’s direct-to-

consumer strategy on June 27, 2022, when NIKE announced its fourth quarter and full fiscal year

2022 financial results after market close. NIKE’s quarterly revenues declined 1% year-over-year

and quarterly wholesale revenues declined 7% year-over-year. Likewise, NIKE’s quarterly gross

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margin declined 80 basis points year-over-year, “primarily due to higher inventory obsolescence

reserves in Greater China and elevated freight and logistics costs,” and the Company’s 2022 gross

margin growth of 120 basis points year-over-year was significantly below expectations.

       41.       Defendant Donahoe asserted that, in spite of the Company’s poor performance,

NIKE’s “competitive advantages, including our pipeline of innovative product and expanding

digital leadership, prove that our strategy is working as we create value through our relentless drive

to serve the future of sport.”

       42.       Additionally, on the accompanying investor earnings call also held on June 27,

2022, Defendant Donahoe stated that, “as we look ahead to fiscal ’23, we remain very confident

in our long-term strategy and our growth outlook.” Moreover, in response to an analyst’s question

about Defendants’ outlook in China—including an expected 100+ basis point decline in first

quarter fiscal year 2023 gross margin—Defendant Donahoe downplayed any concerns, noting that

“[w]e’ve always taken a long-term view” in China and that NIKE is China’s “#1 cool brand.”

       43.       On this news, the price of NIKE Class B common stock declined $7.72 per share,

or nearly 7%, from a close of $110.50 per share on June 27, 2022, to close at $102.78 per share on

June 28, 2022.

       44.       Investors learned more about the Company’s struggles on September 29, 2022,

when NIKE reported disappointing first quarter fiscal year 2023 financial results after market

close. NIKE reported significant year-over-year declines in net income (22%), diluted EPS (20%),

and gross margin (220 basis points), with only a meager increase in NIKE’s quarterly revenue

(4%). The Company also disclosed that its gross margin was primarily impacted by the disposal

of excess inventory—which was 44% higher than the same period in 2022. In explaining the



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Company’s margin issues, Defendant Friend acknowledged that “we’ve decided to take that

inventory and more aggressively liquidate it.”

       45.     Nonetheless, on the accompanying investor earnings call held that same day,

Defendant Donahoe reassured investors that the industry was experiencing a “period of

turbulence” where Defendants “want to leverage our strengths to emerge in a stronger position

than our competition at the other end of it.” Specifically, he underscored that “[w]e’ve got a really

strong innovation pipeline. So we talk about the transitional and the structural. The transitional

is navigating through the inventory situation.            The structural is leveraging our competitive

advantages so we emerge in a stronger position, and we’ll be playing offense on both.”

       46.     On this news, the price of NIKE Class B common stock declined $12.21 per share,

or nearly 13%, from a close of $95.33 per share on September 29, 2022, to close at $83.12 per

share on September 30, 2022.

       D.      Defendants Continue to Falsely Tout the Sustainability of NIKE’s Business

               Model

       47.     On December 20, 2022, NIKE announced its second quarter fiscal year 2023

financial results after market close. In connection with these results, Defendants persisted in

touting NIKE’s growth strategy, with Defendant Donahoe claiming that “NIKE’s results this

quarter are a testament to our deep connection with consumers,” “[o]ur growth was broad-based

and was driven by our expanding digital leadership and brand strength,” and that “[t]hese results

give us confidence in delivering the year as our competitive advantages continue to fuel our

momentum.”      Additionally, Defendant Friend stated that “[c]onsumer demand for NIKE’s

portfolio of brands continues to drive strong business momentum in a dynamic environment” and



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that Defendants are “on track to deliver on our operational and financial goals — setting the

foundation for sustainable, profitable growth.”

       48.     On the accompanying investor earnings call held that same day, Defendant

Donahoe highlighted that NIKE is “creating more separation between us and our competition

thanks to the meaningful relationships we have with consumers and the continued success of our

strategy.”

       49.     Six months later, on June 29, 2023, the Company reported its fourth quarter and

full fiscal year 2023 financial results after market close. On the accompanying investor earnings

call held that same day, Defendant Friend announced NIKE’s fiscal year 2024 financial outlook

of revenue growth in the mid-single digits and gross margin growth between 140 and 160 basis

points due, in part, to “clear advantages, strong consumer momentum, a robust product innovation

pipeline, healthy inventory and a normalized flow of supply.”

       50.     During the same investor earnings call, a JPMorgan Chase & Co. analyst asked

Defendant Donahoe to explain “how you believe the NIKE brand is positioned to capture market

share globally?” In response, Defendant Donahoe stated that NIKE is primed to “leverage our

competitive advantages”—such as its digital presence—“to not only gain share but also grow the

market.”

       51.     The above statements identified in ¶¶ 47-50 were materially false and misleading,

and failed to disclose materially adverse facts, about the Company’s business and operations.

Specifically, Defendants misrepresented and/or failed to disclose that: (1) NIKE’s direct-to-

consumer strategy was unable to generate sustainable revenue growth; (2) NIKE’s competitive

advantages were unable to protect the Company from intense competitive pressures after NIKE

largely disengaged from many of its wholesale and retail partners to focus on the Company’s

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direct-to-consumer strategy; and (3) as a result, Defendants’ representations about the Company’s

business, operations, and prospects were materially false and misleading and/or lacked a

reasonable basis.

       E.      The Truth is Revealed

       52.     Investors began to learn more about NIKE’s inability to generate sustainable

revenue growth through its Consumer Direct Offense strategy on December 21, 2023, when the

Company announced its second quarter fiscal year 2024 financial results after market close.

Specifically, the Company announced 1% total revenue growth year-over-year, which was dragged

down by quarterly revenue declines in North America and EMEA. Additionally, during the

accompanying investor earnings call held that same day, Defendant Friend revealed that NIKE’s

“[t]otal retail sales across the marketplace fell short of our expectations” and that NIKE’s digital

platforms lost consumer traffic to competitors because of “higher levels of promotional activity

across the marketplace.” Given these challenges, Defendant Friend revealed that NIKE was

“adjusting [its] channel growth plans for the remainder of the year” and “identifying opportunities

across the company to deliver up to $2 billion in cumulative cost savings over the next 3 years,”

including improving the Company’s supply chain efficiency and “streamlining [its] organizational

structure.”

       53.     On this news, the price of NIKE Class B common stock declined $14.49 per share,

or nearly 12%, from a close of $122.53 per share on December 21, 2023, to close at $108.04 per

share on December 22, 2023.

       54.     On March 21, 2024, NIKE announced its third quarter fiscal year 2024 financial

results after market close, revealing a 3% year-over-year decline in EMEA revenue, a 3% year-

over-year decline in NIKE Digital revenue, and scant quarterly revenue growth of just

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approximately 0.4% year-over-year in NIKE Direct. Defendant Donahoe, on the accompanying

investors earnings call held that same day, admitted that “NIKE is not performing in our potential.”

He then revealed that, “while NIKE Direct will continue to play a critical role, we must lean in

with our wholesale partners to elevate our brand and grow the total marketplace.” Furthermore,

Defendant Donahoe stated that “we’re combining both the best of our direct offense but a

reinvestment with our wholesale partners, so we bring a more holistic offense that grows the

market and gets in the path of our consumer.” Defendant Friend then informed investors that “we

are prudently planning for revenue in the first half of the fiscal year [2025] to be down low single

digits.”

           55.   On this news, the price of NIKE Class B common stock declined $6.96 per share,

or nearly 7%, from a close of $100.82 per share on March 21, 2024, to close at $93.86 per share

on March 22, 2024.

V.         PLAINTIFF’S CLASS ACTION ALLEGATIONS

           56.   Plaintiff brings this class action under Rule 23 of the Federal Rules of Civil

Procedure on behalf of a class of all persons and entities who purchased or otherwise acquired

NIKE Class B common stock during the Class Period (the “Class”). Excluded from the Class are

Defendants, their agents, directors and officers of NIKE, and their families and affiliates.

           57.   The members of the Class are so numerous that joinder of all members is

impracticable. The disposition of their claims in a class action will provide substantial benefits to

the parties and the Court.

           58.   There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Class, which

predominate over questions which may affect individual Class members, include:

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                a.     Whether Defendants violated the Exchange Act;

                b.     Whether Defendants omitted and/or misrepresented material facts;

                c.     Whether Defendants’ statements omitted material facts necessary in order

                       to make the statements made, in light of the circumstances under which they

                       were made, not misleading;

                d.     Whether Defendants knew or recklessly disregarded that their statements

                       were false and misleading;

                e.     Whether the price of NIKE Class B common stock was artificially inflated;

                       and

                f.     The extent of damage sustained by members of the Class and the

                       appropriate measure of damages.

       59.      Plaintiff’s claims are typical of those of the Class because Plaintiff and the Class

sustained damages from Defendants’ wrongful conduct.

       60.      Plaintiff will adequately protect the interests of the Class and has retained counsel

who are experienced in securities class actions. Plaintiff has no interests that conflict with those

of the Class.

       61.      A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Joinder of all Class members is impracticable.

VI.    APPLICABILITY OF PRESUMPTION OF RELIANCE: FRAUD-ON-THE-

       MARKET DOCTRINE

       62.      Plaintiff will rely upon the presumption of reliance established by the fraud-on-the-

market doctrine in that, among others:



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               a.      Defendants made public misrepresentations or failed to disclose material

                       facts during the Class Period;

               b.      The omissions and misrepresentations were material;

               c.      The Company’s Class B common stock traded on an efficient market;

               d.      The misrepresentations alleged would tend to induce a reasonable investor

                       to misjudge the value of the Company’s Class B common stock; and

               e.      Plaintiff and the Class purchased NIKE Class B common stock between the

                       time the Company and the Individual Defendants misrepresented or failed

                       to disclose material facts and the time the true facts were disclosed, without

                       knowledge of the misrepresented or omitted facts.

       63.     At all relevant times, the market for the Company’s Class B common stock was

efficient because: (1) as a regulated issuer, the Company filed periodic public reports with the

SEC; and (2) the Company regularly communicated with public investors using established market

communication mechanisms, including through regular disseminations of press releases on the

major news wire services and through other wide-ranging public disclosures, such as

communications with the financial press, securities analysts, and other similar reporting services.

VII.   NO SAFE HARBOR

       64.     Defendants’ “Safe Harbor” warnings accompanying any forward-looking

statements issued during the Class Period were ineffective to shield those statements from liability.

Defendants are liable for any false or misleading forward-looking statements pleaded because, at

the time each forward-looking statement was made, the speaker knew the statement was false or

misleading and the forward-looking statement was authorized and/or approved by an executive

officer of NIKE who knew that the forward-looking statement was false. None of the historic or

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present-tense statements made by Defendants were assumptions underlying or relating to any plan,

projection, or statement of future economic performance, as they were not stated to be such

assumptions underlying or relating to any projection or statement of future economic performance

when made, nor were any of the projections or forecasts made by Defendants expressly related to

or stated to be dependent on those historic or present-tense statements when made.

VIII. LOSS CAUSATION/ECONOMIC LOSS

        65.    Defendants’ wrongful conduct directly and proximately caused the economic loss

suffered by Plaintiff and the Class. The price of NIKE Class B common stock significantly

declined when the misrepresentations made to the market, and/or the information alleged herein

to have been concealed from the market, and/or the effects thereof, were revealed, causing

investors’ losses. As a result of their purchases of NIKE Class B common stock during the Class

Period, Plaintiff and the Class suffered economic loss, i.e., damages, under the federal securities

laws.

IX.     ADDITIONAL SCIENTER ALLEGATIONS

        66.    During the Class Period, Defendants had both the motive and opportunity to

commit fraud. They also had actual knowledge of the misleading nature of the statements they

made, or acted in reckless disregard of the true information known to them at the time. In so doing,

Defendants participated in a scheme to defraud and committed acts, practices, and participated in

a course of business that operated as a fraud or deceit on purchasers of NIKE Class B common

stock during the Class Period.




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X.     CLAIMS AGAINST DEFENDANTS

                                                COUNT I

                      Violations of Section 10(b) of the Exchange Act and

                           SEC Rule 10b-5 Promulgated Thereunder

                                      Against All Defendants

       67.     Plaintiff incorporates by reference the allegations in the preceding paragraphs.

       68.     During the Class Period, Defendants carried out a plan, scheme, and course of

conduct that was intended to and, throughout the Class Period, did: (1) deceive the investing public,

including Plaintiff and the Class; and (2) cause Plaintiff and the Class to purchase NIKE Class B

common stock at artificially inflated prices. In furtherance of this unlawful scheme, plan, and

course of conduct, Defendants, and each of them, took the actions set forth herein.

       69.     Defendants: (1) employed devices, schemes, and artifices to defraud; (2) made

untrue statements of material fact and/or omitted material facts necessary to make the statements

not misleading; and (3) engaged in acts, practices, and a course of business which operated as a

fraud and deceit upon the purchasers of NIKE’s Class B common stock in an effort to maintain

artificially high market prices thereof in violation of Section 10(b) of the Exchange Act and SEC

Rule 10b-5.

       70.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

Class suffered damages in connection with their respective purchases of NIKE’s Class B common

stock during the Class Period.




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                                                COUNT II

                         Violations of Section 20(a) of the Exchange Act

                                Against the Individual Defendants

       71.     Plaintiff incorporates by reference the allegations in the preceding paragraphs.

       72.     The Individual Defendants acted as controlling persons of NIKE within the

meaning of Section 20(a) of the Exchange Act. By virtue of their high-level positions, and their

ownership and contractual rights, participation in and/or awareness of the Company’s operations,

and/or intimate knowledge of the false statements filed by the Company with the SEC and

disseminated to the investing public, the Individual Defendants had the power to influence and

control—and did influence and control, directly or indirectly—the decision-making of the

Company, including the content and dissemination of the various false and/or misleading

statements. The Individual Defendants were provided with or had unlimited access to copies of

the Company’s reports and other statements alleged by Plaintiff to be misleading prior to and/or

shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

       73.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company and, therefore, are presumed to have

had the power to control or influence the activities giving rise to the securities violations as alleged

herein, and exercised the same.

       74.     As described above, the Company and the Individual Defendants each violated

Section 10(b) of the Exchange Act and SEC Rule 10b-5 by their acts and omissions as alleged in

this Complaint. By virtue of their positions as controlling persons, the Individual Defendants are

liable under Section 20(a) of the Exchange Act. As a direct and proximate result of this wrongful

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conduct, Plaintiff and other members of the Class suffered damages in connection with their

purchases of Company Class B common stock during the Class Period.

XI.    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a.      Determining that this action is a proper class action under Rule 23 of the

                      Federal Rules of Civil Procedure;

              b.      Awarding compensatory damages and equitable relief in favor of Plaintiff

                      and other members of the Class against all Defendants, jointly and severally,

                      for all damages sustained as a result of Defendants’ wrongdoing, in an

                      amount to be proven at trial, including interest thereon;

              c.      Awarding Plaintiff and the Class their reasonable costs and expenses

                      incurred in this action, including counsel fees and expert fees; and

              d.      Such other and further relief as the Court may deem just and proper.

XII.   DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury.



Dated this 20th day of June, 2024



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